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                                                          FILED & ENTERED
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 4                                                               AUG 02 2022

 5                                                          CLERK U.S. BANKRUPTCY COURT
                                                            Central District of California
                                                            BY Cetulio DEPUTY CLERK
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 8                      UNITED STATES BANKRUPTCY COURT

 9                       CENTRAL DISTRICT OF CALIFORNIA

10                        SAN FERNANDO VALLEY DIVISION

11
     In re:                                Case No.: 1:22-bk-10141-MB
12
                                           Chapter 11
13 VANESSA STOLLER,

14                                         ORDER SETTING HEARING ON
                                 Debtor.   APPLICATION TO EMPLOY KELLER
15                                         WILLIAMS REALTY AS REAL ESTATE
                                           AGENT [CASE DKT. 77]
16
                                                               Hearing
17
                                           Date: August 24, 2022
18                                         Time: 1:30 p.m.
                                           Place: Courtroom 303
19
                                             The hearing will be conducted remotely, using
20                                                    ZoomGov video and audio:

21                                         URL: https://cacb.zoomgov.com/j/1618538265
                                           Meeting ID: 161 853 8265
22                                         Password: 399246
                                           Telephone Numbers: 1 (669) 254 5252
23                                                          or 1 (646) 828 7666
                                                            or 1 (669) 216 1590
24                                                          or 1 (551) 285 1373
                                                            or (833) 568 8864 (toll free)
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 1          On June 8, 2022, the debtor and debtor in possession Vanessa Stoller (the “Debtor”), filed

 2 her Application to Employ Keller Williams Realty as Real Estate Agent (the “Application,” case

 3 dkt. 77) seeking authority to employ Keller Williams Realty (“Keller Williams”) as the real estate

 4 broker for the bankruptcy estate. The Application candidly discloses that Keller Williams will split

 5 its commission with the broker for the buyers, “another Keller Williams agency.” Application at 1.

 6          Section 327(a) of the Bankruptcy Code permits debtors in possession to employ

 7 professional persons “that do not . . . represent an interest adverse to the estate and that are

 8 disinterested persons . . . “ 11 U.S.C. §327(a). It appears that the Debtor seeks to employ Keller

 9 Williams to represent both the estate and the proposed buyers of the estate’s real property and that

10 Keller Williams therefore would be representing adverse interests with respect to the proposed sale.

11 Additionally, Judge Barash’s “Judicial Variance Statement Regarding the Local Bankruptcy Rules,

12 the Central Guide and Forms” provides in pertinent part:

13                  Applications to Employ Real Estate Brokers: Notwithstanding

14                  California law permitting dual representation or the language in form

15                  listing agreements, real estate brokers employed by the bankruptcy

16                  estate may only represent the seller in any sale. The order employing

17                  a real estate broker must include language substantially similar to the

18                  following:

19                     It is further ordered that notwithstanding anything to the

20                     contrary contained in the listing agreement attached to the

21                     application, [name of real estate broker] and the persons

22                     acting as agents may only represent the estate, as seller of the

23                     subject real property. Neither [name of real estate broker] nor

24                     any person acting as an agent of [name of real estate broker],

25                     shall receive, directly or indirectly, any compensation payable

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 1                        to any broker or agent representing the buyer of the subject

 2                        real property.1

 3             Having considered the Application, notice thereof and the Debtor’s supplement to the

 4 Application, and based on the foregoing, IT IS HEREBY ORDERED THAT:

 5             1.     The Court will conduct a hearing on the Application on August 24, 2022 at 1:30

 6                    p.m. via ZoomGov audio and video. ZoomGov connection information is provided

 7                    in the caption of this Order.

 8             2.     Any supplemental evidence in support of the Application demonstrating that Keller

 9                    Williams does not represent adverse interests with respect to the proposed sale, and

10                    is disinterested, shall be filed no later than August 17, 2022. Evidence regarding

11                    the marketing of the Debtor’s real property, including the length of the marketing

12                    period, the number of inquiries and offers received from non-Keller Williams

13                    buyers, and the extent to which Keller Williams has a pecuniary interest in the

14                    broker’s commission to be paid on account of the proposed buyers’ broker, may be

15                    relevant to this issue.

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23       Date: August 2, 2022
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     https://www.cacb.uscourts.gov/sites/cacb/files/documents/judges/instructions/MB_Judicial-
28 Variance-Statement.pdf
